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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


PAUL J. MANAFORT, JR.,

                            Plaintiff,

                   v.
                                                No. 1:18-cv-00011-ABJ
U.S. DEPARTMENT OF JUSTICE, ROD J.
ROSENSTEIN, and ROBERT S. MUELLER III,

                           Defendants.




    DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
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                                       INTRODUCTION

       Plaintiff Paul J. Manafort Jr. has filed this civil action seeking to collaterally attack his

ongoing criminal prosecution by Special Counsel Robert S. Mueller III, which is currently pending

in a separate criminal action in this District. See United States v. Manafort, No. 17-cr-201-ABJ

(D.D.C.).   Specifically, Manafort asks this Court to “declare invalid” and “set aside” the

appointment of the Special Counsel; to set aside “all actions taken against” him by the Special

Counsel; and to enjoin the Special Counsel from conducting investigations into certain topics. See

Compl. (ECF No. 1) ¶ 53, Prayer for Relief ¶¶ (a)-(d). To support this requested relief, Manafort

alleges two claims. First, he alleges that the Acting Attorney General’s order directing the Special

Counsel to investigate certain matters exceeds the authority provided by the Department of

Justice’s Special Counsel regulations because the order authorizes the investigation and

prosecution of matters that “arose or may arise directly from the investigation.” See Compl. ¶¶ 32-

35, 52. Second, Manafort alleges that the investigation and indictment against him exceed the

Special Counsel’s authority under the Acting Attorney General’s order. See Compl. ¶¶ 36-42, 63.

       These claims lack merit. The appointment of the Special Counsel was squarely within the

Acting Attorney General’s authority and consistent with the Department’s Special Counsel

regulations. And the Special Counsel is properly operating within the scope of his authority,

including with respect to Manafort’s ongoing criminal prosecution. Indeed, less than two months

ago, and after Manafort was indicted, the Acting Attorney General testified before Congress and

made this point eminently clear: “I can assure you that the special counsel is conducting himself

consistently with our understanding about the scope of his investigation.” Testimony of Deputy

Attorney General Rod J. Rosenstein, H. Comm. on the Judic., Hearing on the Justice Department’s

Investigation of Russia’s Interference in the 2016 Presidential Election, at 28 (Dec. 13, 2017)

(attached hereto) [hereafter Rosenstein Testimony]. The Special Counsel’s investigation and


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prosecutions are entirely lawful.

       This Court, however, need not, and should not, reach the merits of Manafort’s claims in

this collateral, civil action. Myriad threshold grounds preclude this Court from adjudicating those

issues. First and most fundamentally, it is a “basic doctrine of equity jurisprudence” that “courts

should not exercise their equitable discretion to enjoin criminal proceedings, as long as the

defendant has an adequate legal remedy in the form of trial and direct appeal.” In re Al-Nashiri,

835 F.3d 110, 118 (D.C. Cir. 2016). The Supreme Court announced that principle in barring a

federal injunction against a state criminal prosecution, see Younger v. Harris, 401 U.S. 37 (1971),

and the D.C. Circuit has applied the same principle to foreclose equitable relief that would interfere

with an ongoing federal prosecution. See Deaver v. Seymour, 822 F.2d 66 (D.C. Cir. 1987). Those

decisions are directly applicable here: If Manafort believes the Special Counsel lacks authority to

prosecute him, he is free to raise that objection in his criminal action by filing a motion to dismiss

the indictment pursuant to Rule 12 of the Federal Rules of Criminal Procedure. But allowing

Manafort to proceed with this civil action would enable him to “circumvent federal criminal

procedure” and potentially “undermine the final judgment rule” in criminal cases. Deaver, 822

F.2d at 71.

       Each of the two Counts in the Complaint fails for several additional threshold reasons. As

for Count I—seeking to challenge the Special Counsel’s appointment pursuant to the

Administrative Procedure Act (APA)—claims under the APA are precluded when an alternate,

adequate remedy exists. Thus, Manafort’s ability to file a motion to dismiss in his criminal action

independently forecloses an APA claim as well. Additionally, the APA cannot be used to challenge

internal Government decisions about how to assign responsibility for particular matters among

employees within an agency. The Special Counsel’s appointment is no different, and any challenge




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to that decision under the APA fails because Manafort has no enforceable rights, he falls outside

of the statutory zone of interest, and the order he challenges is not final agency action.

       As for Count II—seeking to challenge the Special Counsel’s compliance with the authority

granted to him—Manafort does not invoke the APA and instead seeks to proceed under the

Declaratory Judgment Act and a theory of ultra vires non-statutory review. But the Declaratory

Judgment Act does not itself create substantive rights or provide an independent source of federal

jurisdiction. And ultra vires review is also unavailable: The existence of an alternative forum for

the claim likewise precludes ultra vires review, and Manafort cannot otherwise satisfy the stringent

requirements for invoking the doctrine.

       Accordingly, both of Manafort’s claims fail because they are improper collateral attacks on

an ongoing criminal proceeding, and also suffer from additional threshold defects. Manafort’s

Complaint should therefore be dismissed.

                                          BACKGROUND

I.     Legal Framework

        “The Attorney General and United States Attorneys retain broad discretion to enforce the

Nation’s criminal laws.” United States v. Armstrong, 517 U.S. 456, 464 (1996). The “conduct of

litigation” on behalf of the United States is generally “reserved to officers of the Department of

Justice, under the direction of the Attorney General.” 28 U.S.C. § 516. The Attorney General can

“make such provisions as he considers appropriate” to authorize others within the Department of

Justice to act, id. § 510, and also has authority to “specially appoint[]” any attorney to “conduct

any kind of legal proceeding, civil or criminal, . . . which United States attorneys are authorized




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by law to conduct[.]” Id. § 515(a).1

       Pursuant to statutory authority vested in the Attorney General, Department of Justice

regulations specify the procedure by which the Attorney General, for “certain sensitive

investigations,” may appoint a “Special Counsel.” See Office of Special Counsel, 64 Fed. Reg.

37,038 (July 9, 1999) (codified at 28 C.F.R. §§ 600.1 et seq.). Special Counsels are to have more

“day-to-day independence” than U.S. Attorneys and certain protection from removal but, like other

Department officials, are to follow “established procedures of the Department” with “ultimate

responsibility for the matter and how it is handled . . . rest[ing] with the Attorney General (or the

Acting Attorney General if the Attorney General is personally recused in the matter).” Id.

       When a Special Counsel is appointed under the regulations, his jurisdiction “shall be

established by the Attorney General.” 28 C.F.R. § 600.4(a). The regulations direct that “[t]he

Special Counsel will be provided with a specific factual statement of the matter to be investigated.”

Id. If the Special Counsel determines additional jurisdiction is necessary, the regulations authorize

the Special Counsel to seek that additional jurisdiction from the Attorney General. See id.

§ 600.4(b); see also Office of Special Counsel, 64 Fed. Reg. at 37,039 (providing examples of

situations where the Special Counsel might deem it appropriate to seek additional jurisdiction).

The regulations do not require that the initial appointment order, the specific factual statement, or

any grant of additional jurisdiction be spelled out in a public document.

       The Attorney General maintains ultimate responsibility for the Special Counsel’s




       1
          The Attorney General has previously exercised this statutory authority to specially
appoint attorneys to conduct certain investigations on behalf of the Department of Justice. See,
e.g., United States v. Nixon, 418 U.S. 683, 694 n.8 (1974); In re Sealed Case, 829 F.2d 50, 52-53,
55 (D.C. Cir. 1987); United States v. Libby, 429 F. Supp. 2d 27, 28-29 (D.D.C. 2006). This
statutory authority is separate and distinct from the now-expired Independent Counsel framework.
See Morrison v. Olson, 487 U.S. 654 (1988); United States v. Tucker, 78 F.3d 1313 (8th Cir. 1996).


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investigation in several different ways pursuant to the regulations. For example, “the Attorney

General may request that the Special Counsel provide an explanation for any investigative or

prosecutorial step, and may after review conclude that the action is so inappropriate or unwarranted

under established Departmental practices that it should not be pursued.” 28 C.F.R. § 600.7(b).

Additionally, the Special Counsel is required to notify the Attorney General of significant events

occurring during the course of the investigation “in conformity with the Departmental guidelines

with respect to Urgent Reports.” Id. § 600.8(b); see also United States Attorneys’ Manual (USAM)

§ 1-13.000    (setting      forth   guidelines   regarding    Urgent     Reports),    available    at

https://www.justice.gov/usam/usam-1-13000-urgent-reports. Because Urgent Reports generally

must be submitted in advance of a major development (e.g., the filing of criminal charges), see id.,

this notification requirement ensures a “resulting opportunity for consultation” between the

Attorney General and the Special Counsel about the anticipated action. Office of Special Counsel,

64 Fed. Reg. at 37,040. Finally, the Attorney General can remove the Special Counsel for

“misconduct, dereliction of duty, incapacity, conflict of interest, or for other good cause, including

violation of Departmental policies.” 28 C.F.R. § 600.7(d).

       Because the Special Counsel regulations govern only the Department of Justice’s internal

procedures, the regulations make clear that they “are not intended to, do not, and may not be relied

upon to create any rights, substantive or procedural, enforceable at law or equity, by any person or

entity, in any matter, civil, criminal, or administrative.” Id. § 600.10. For similar reasons, the

regulations were effective immediately upon their promulgation. See Office of Special Counsel,

64 Fed. Reg. at 37,041 (stating that “[t]his rule relates to matters of agency management or

personnel,” and if governed by rulemaking procedures at all is “a rule of agency organization,

procedure, or practice”).




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II.     Factual and Procedural History

        A.      Special Counsel Mueller’s Appointment and Ongoing Investigation

        On March 20, 2017, then-Director of the FBI James B. Comey testified before Congress

and disclosed the existence of an ongoing counterintelligence investigation regarding, among other

things, “the Russian government’s efforts to interfere in the 2016 presidential election[.]”

Statement of FBI Director James B. Comey, H. Perm. Select Comm. on Intelligence, Hearing on

Russian Active Measures Investigation (Mar. 20, 2017), available at https://www.fbi.gov/

news/testimony/hpsci-hearing-titled-russian-active-measures-investigation.      Because Attorney

General Jefferson B. Sessions III recused himself, Deputy Attorney General Rosenstein acts as,

and performs the functions of, the Attorney General with respect to the investigation (and all other

events described in this filing).

        On May 17, 2017, Acting Attorney General Rosenstein, pursuant to “the authority vested

in [him] as Acting Attorney General, including 28 U.S.C. §§ 509, 510, and 515,” appointed Robert

S. Mueller III to serve as Special Counsel for the Department of Justice. See Order No. 3915-

2017, Appointment of Special Counsel to Investigate Russian Interference with the 2016

Presidential Election and Related Matters (May 17, 2017) (Compl. Exh. A, ECF No. 1-1)

[hereafter “Appointment Order”]. The Acting Attorney General specified that the Special Counsel

“is authorized to conduct the investigation confirmed by then-FBI Director James B. Comey in

testimony before the House Permanent Select Committee on Intelligence on March 20, 2017,”

including:

        (i)     any links and/or coordination between the Russian government and individuals
                associated with the campaign of President Donald Trump; and

        (ii)    any matters that arose or may arise directly from the investigation; and

        (iii)   any other matters within the scope of 28 C.F.R. § 600.4(a).



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See id. ¶ (b). The Acting Attorney General authorized the Special Counsel “to prosecute federal

crimes arising from the investigation of these matters.” Id. ¶ (c). And, finally, he made applicable

specific provisions of the Special Counsel regulations: “Sections 600.4 through 600.10 of Title 28

of the Code of Federal Regulations are applicable to the Special Counsel.” Id. ¶ (d).

       Since the Special Counsel’s appointment, the investigation into the above matters has been

ongoing. And, consistent with the Special Counsel regulations, the Acting Attorney General has

maintained his oversight role with respect to that investigation. Recently, the Acting Attorney

General described that oversight role in testimony before Congress: “I know what [the Special

Counsel is] doing. I’m properly exercising my oversight responsibilities, and so I can assure you

that the special counsel is conducting himself consistently with our understanding about the scope

of his investigation.” Rosenstein Testimony at 28.

       B.      Criminal Proceedings Against Manafort

       As part of the above-described investigation, a grand jury in this District returned a criminal

indictment against Plaintiff Paul J. Manafort, Jr. See Compl. ¶¶ 36, 41-42, 45-48; United States v.

Manafort, No. 17-cr-201-ABJ (D.D.C.). Manafort was indicted on October 27, 2017, and was

charged with twelve counts. See Compl. Exh. B, ECF No. 1-2.

       At a status conference held in the criminal matter on December 11, 2017, the parties began

discussing scheduling issues for certain pre-trial motions. See Tr. of Dec. 11, 2017 Status Conf.

at 6-9. Subsequently, at a status conference on January 16, 2018, counsel for Manafort stated that

he expected to file at least one dispositive pre-trial motion, including a motion alleging a defect in

instituting the prosecution pursuant to Fed. R. Crim. P. 12(b)(3)(A). See Tr. of Jan. 16, 2018 Status

Conf. at 21. The Court then entered the following briefing schedule for such a motion: defense

motion(s) due by February 23, 2018; Government response due by March 16, 2018; any replies

due by March 30, 2018; and a motions hearing set for April 17, 2018. See United States v.


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Manafort, No. 17-cr-201 (D.D.C.), Minute Order of Jan. 16, 2018. The Court also set a schedule

for other pre-trial motions, including motions to suppress evidence. See id., Minute Order of

Jan. 17, 2018.

       C.        Procedural History of This Civil Case

       On January 3, 2018, Manafort filed the present civil action against Defendants—the United

States Department of Justice (DOJ), Acting Attorney General Rosenstein, and Special Counsel

Mueller. See generally Compl. ¶¶ 13-15. The Complaint alleges two claims.

       Count I, brought against DOJ and Acting Attorney General Rosenstein, seeks review

pursuant to the APA. See Compl. ¶¶ 51, 54-59. It alleges that the Appointment Order is unlawful

because paragraph (b)(ii) allows the Special Counsel to “address any new matters that come to his

attention during the course of the investigation, without consulting or obtaining approval from the

Attorney General or Acting Attorney General,” assertedly contrary to the process established in 28

C.F.R. § 600.4(b) for the Special Counsel to request “additional jurisdiction” over new matters.

See Compl. ¶ 52. Thus, “[b]ecause the Appointment Order itself exceeds the DOJ’s authority,” the

Complaint alleges, “all actions taken pursuant to the authority it purports to grant the Special

Counsel are likewise ultra vires and must be set aside.” Id. ¶ 53.

       Count II is brought against only the Special Counsel. See id. ¶ 61. Unlike Count I, Count II

is not brought pursuant to the APA, and instead alleges that “[t]he actions of the Special Counsel

are reviewable under the Declaratory Judgment Act and under the long-recognized authority of the

federal courts to grant equitable relief to prevent injurious acts by public officers.” Id. Count II

alleges that even if the Acting Attorney General’s original Appointment Order is lawful, the Special

Counsel’s investigation and indictment of Manafort exceed the scope of the Special Counsel’s

authority because “[t]he indictment raises stale allegations DOJ must have been aware of for nearly

a decade; they are not matters that ‘arose . . . from the investigation’ into the 2016 election[.]” Id.


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¶ 63. Based on this allegation, Manafort asserts that the Special Counsel “acted beyond the scope

of his authority,” and the Special Counsel’s “actions must be set aside.” Id. Manafort also requests

that the Special Counsel “be enjoined from further investigating any alleged conduct by Mr.

Manafort that is unrelated to and predates his involvement with the Trump campaign, as well as

any conduct that does not arise directly from the limited investigation authorized by the original

jurisdiction clause of the Appointment Order.” Id. ¶ 64.

       Consistent with the above, the Complaint’s Prayer for Relief specifically requests “an order

and judgment setting aside the Appointment Order and declaring it invalid”; “an order and

judgment declaring ultra vires and setting aside all actions taken against Mr. Manafort pursuant to

the Appointment Order”; and a declaration and injunction setting forth the permissible scope of

the Special Counsel’s investigations. See id., Prayer for Relief ¶¶ (a)-(d).

                                   STANDARD OF REVIEW

       The Government hereby moves to dismiss Manafort’s Complaint for failure to state a claim

upon which relief can be granted, pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure. To survive a motion to dismiss under Rule 12(b)(6), a plaintiff’s “[f]actual allegations

must be enough to raise a right to relief above the speculative level[.]” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555 (2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (to satisfy the

Rule 12(b)(6) standard, the plaintiff’s complaint must allege “more than a sheer possibility that a

defendant has acted unlawfully”). Although a court must accept all factual allegations as true, the

court is “not bound to accept as true a legal conclusion couched as a factual allegation[.]”

Twombly, 550 U.S. at 555. Additionally, a motion under Rule 12(b)(6) “tests the legal sufficiency

of a plaintiff’s complaint[.]” Herron v. Fannie Mae, 861 F.3d 160, 173 (D.C. Cir. 2017).

       In evaluating the sufficiency of the complaint, the Court may consider “the facts alleged in

the complaint, any documents either attached to or incorporated in the complaint and matters of


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which [the court] may take judicial notice.” EEOC v. St. Francis Xavier Parochial Sch., 117 F.3d

621, 624 (D.C. Cir. 1997). That includes the Court’s ability to take judicial notice of “public record

information.” Jankovic v. Int’l Crisis Grp., 494 F.3d 1080, 1088 (D.C. Cir. 2007); see also Al-

Aulaqi v. Panetta, 35 F. Supp. 3d 56, 67-68 (D.D.C. 2014).2

                                           ARGUMENT

       The fundamental premise of Manafort’s lawsuit is that the Appointment Order gives the

Special Counsel “carte blanche to investigate and pursue criminal charges in connection with

anything he stumbles across while investigating[.]” Compl. ¶ 8. That premise is wrong. While

the Special Counsel is given jurisdiction over matters that arose or may arise directly out of the

investigation, see Appointment Order ¶ (b)(ii), that authority is subject to the overall regulatory

framework, including the notification requirement and the “resulting opportunity for consultation”

that such notification provides. Office of Special Counsel, 64 Fed. Reg. at 37,040; see 28 C.F.R.

§ 600.8(b). Based on a proper understanding of the framework, then, Manafort is wrong—and his

Complaint does not plausibly allege—that the Special Counsel is given carte blanche to pursue

criminal charges “without consulting or obtaining approval from the Attorney General or Acting

Attorney General.” Compl. ¶ 52.

       Nor does Manafort’s Complaint plausibly allege that the Special Counsel has exceeded the

scope of his jurisdiction, see id. ¶ 63, particularly in light of the Appointment Order’s terms.

Indeed, the Acting Attorney General recently confirmed that the Special Counsel is operating fully

within his jurisdiction. See Rosenstein Testimony at 28-33, 146. Thus, Manafort’s claims lack

merit, even under the deferential review of a Rule 12(b)(6) motion.



       2
         Given this procedural posture—in which the Complaint’s factual allegations must be
accepted as true—this memorandum should not be construed as admitting or denying the truth of
any of the matters alleged in the Complaint.


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       The merits of Manafort’s claims, however, are not properly before the Court. The

appropriate forum for litigating those issues is in Manafort’s underlying criminal action. In this

civil case, Manafort is precluded from raising his challenges, and this lawsuit should be dismissed

for any one or all of the threshold reasons discussed below.

I.     Civil Lawsuits Cannot Be Used to Collaterally Attack Ongoing Criminal Prosecutions

       The clear object of Manafort’s civil suit is to interfere with his ongoing criminal

prosecution. Under well-established Supreme Court and D.C. Circuit authority, however, a civil

lawsuit cannot be used to collaterally attack an ongoing criminal prosecution. Manafort’s claims

fall squarely within this prohibition and should therefore be dismissed.

       A.      Federal Courts Are Prohibited from Interfering with Ongoing Criminal
               Prosecutions

       It is a fundamental principle of equity that civil courts cannot enjoin criminal prosecutions.

This doctrine is rooted in core principles of separation of powers, comity, and sound judicial

administration.

       1. The leading case in this area is Younger v. Harris, 401 U.S. 37 (1971), in which the

plaintiff, already indicted in California state court, “filed a complaint in the Federal District Court,

asking that court to enjoin . . . the District Attorney of Los Angeles County[] from prosecuting

him[.]” Id. at 38-39. The Supreme Court rejected the claim, noting “the basic doctrine of equity

jurisprudence that courts of equity should not act, and particularly should not act to restrain a

criminal prosecution, when the moving party has an adequate remedy at law and will not suffer

irreparable injury if denied equitable relief.” Id. at 43-44. In a criminal case, that adequate remedy

exists by virtue of the ability to present defenses in the underlying criminal action. See id. at 49.

Moreover, relief is not warranted when the claim of irreparable harm is only “the cost, anxiety, and

inconvenience of having to defend against a single criminal prosecution[.]” Id. at 46. Collectively,



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these principles “prevent erosion of the role of the jury and avoid a duplication of legal proceedings

and legal sanctions where a single suit would be adequate to protect the rights asserted.” Id. at 44.

       To be sure, the Supreme Court’s decision in Younger was also influenced by federalism

concerns—i.e., avoiding undue federal interference in ongoing state proceedings. See id. at 44-

45. But those concerns were not the exclusive basis for the holding in Younger, as the D.C. Circuit

has now confirmed by extending Younger to prohibit federal court intervention in ongoing federal

criminal investigations and prosecutions.

       In Deaver v. Seymour, 822 F.2d 66 (D.C. Cir. 1987), in anticipation of a forthcoming

indictment, the plaintiff filed a federal civil action “seeking declaratory and injunctive relief” from

the “continued exercise of prosecutorial authority.” Id. at 66. The plaintiff alleged that the

prosecutor—an independent counsel—was acting in excess of constitutional authority because the

independent counsel’s appointment was invalid, see id. at 67-68, and therefore the plaintiff was, in

effect, “being forced to defend himself against criminal charges brought by a mere private

citizen—a vigilante.” Id. at 70.

       The D.C. Circuit ordered that the case be dismissed. Id. at 68. The court noted that

although Younger arose in the context of state proceedings, “in no case that we have been able to

discover has a federal court enjoined a federal prosecutor’s investigation or presentment of an

indictment.” Id. at 69. The D.C. Circuit reasoned that a federal prosecution “afford[s] defendants,

after indictment, a federal forum in which to assert their defenses—including those based on the

Constitution.” Id. “Congress has established a comprehensive set of rules governing federal

criminal prosecutions,” the court explained, “the Federal Rules of Criminal Procedure.” Id. at 71.

“These rules provide adequate, although limited, opportunities for defendants to challenge

shortcomings in prosecutorial authority.” Id. The court noted that, in particular, “Rule 12(b)(1) of




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the Federal Rules of Criminal Procedure permits any defendant to raise by motion, after indictment

but before trial, a defense based on ‘defects in the institution of the prosecution,’” which therefore

“suggests that appellant’s constitutional challenge is not to be raised in a preindictment civil

injunctive action.” Id. at 70. To do so, the court added, would “undermine the final judgment

rule” in criminal cases. Id. at 71. After the D.C. Circuit denied relief, the plaintiff sought a stay

in the Supreme Court, and Chief Justice Rehnquist denied the request on similar grounds: “There

will be time enough for applicant to present his constitutional claim to the appellate courts if and

when he is convicted of the charges against him.” Deaver v. United States, 483 U.S. 1301, 1303

(1987) (Rehnquist, C.J., in chambers).

       Since Deaver, the D.C. Circuit has re-affirmed its holding—that Younger applies to federal

investigations and prosecutions—in several cases. See In re Al-Nashiri, 835 F.3d at 126-27

(explaining that the rule applies beyond “court systems that are wholly separate from the federal

judicial establishment,” and noting that “legal remedies in Article III courts has historically barred

criminal defendants from receiving pretrial equitable relief”), cert. denied sub nom. al-Nashiri v.

Trump, 138 S. Ct. 354 (2017); Miranda v. Gonzales, 173 F. App’x 840, 841 (D.C. Cir. 2006) (“The

district court correctly held that, if indicted, Miranda can protect his rights under the First

Amendment and Speech or Debate Clause pursuant to Rule 12(b) of the Federal Rules of Criminal

Procedure.”); In re Sealed Case, 829 F.2d at 62 n.60 (“As we said in Deaver v. Seymour . . . courts

do not, except in very limited circumstances not alleged here, entertain the claim of a person

subject to a criminal investigation that the investigation is unlawful and must therefore be

enjoined.”); see also North v. Walsh, 656 F. Supp. 414, 420 (D.D.C. 1987). Indeed, what the

Deaver court said in 1987 remains true today: The Government is unaware of any case in which

a “federal court [has] enjoined a federal prosecutor’s investigation or presentment of an




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indictment.” 822 F.2d at 69. The precedent on this issue is unwavering.3

       These decisions are equally applicable to situations where the civil and criminal actions are

both pending before the same judge. As an equitable matter, that situation tends to confirm the

adequacy of the criminal forum—i.e., a court hearing a civil case is unlikely to conclude that it is

“incapable of fairly and fully adjudicating the federal issues” pending on its own criminal docket.

In re Al-Nashiri, 835 F.3d at 128 (quoting Kugler v. Helfant, 421 U.S. 117, 123-24 (1975)). More

fundamentally, the civil and criminal actions remain two separate cases, governed by two separate

rules of procedure. Thus, allowing the civil matter to proceed—regardless of the identity of the

judge presiding over it—would still enable criminal defendants to “undermine the final judgment

rule.” Deaver, 822 F.2d at 71. The Younger and Deaver holdings therefore apply with equal force

even when the same judge presides over both the civil and criminal actions.

       2. As the above courts recognize, the rule against civil court interference in ongoing

criminal prosecutions is rooted in fundamental principles. First and foremost is equity; it is a

“basic doctrine of equity jurisprudence” that “courts should not exercise their equitable discretion

to enjoin criminal proceedings, as long as the defendant has an adequate legal remedy in the form

of trial and direct appeal.” In re Al-Nashiri, 835 F.3d at 118. A federal criminal proceeding, and

the “comprehensive set of rules governing federal criminal prosecutions—the Federal Rules of

Criminal Procedure”—provide “adequate, although limited, opportunities for defendants to




       3
          See, e.g., Kajtazi v. Johnson-Skinner, 2017 WL 436038, at *2 (S.D.N.Y. Jan. 30, 2017);
Schlegel v. Holder, 2014 WL 12607718, at *2 (D. Minn. May 21, 2014), aff’d, 593 F. App’x 599
(8th Cir. 2015); Christoforu v. United States, 842 F. Supp. 1453, 1456 (S.D. Fla. 1994), aff’d, 61
F.3d 31 (11th Cir. 1995); Jernigan v. State of Miss., 812 F. Supp. 688, 692 (S.D. Miss. 1993);
Hartford Assocs. v. United States, 792 F. Supp. 358, 363-65 (D.N.J. 1992); see also Ali v. United
States, 2012 WL 4103867, at *1 (W.D.N.Y. Sept. 14, 2012) (collecting additional cases); Campbell
v. Medalie, 71 F.2d 671, 672 (2d Cir. 1934) (“A bill in equity to enjoin the prosecution of this
indictment will not lie.”).


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challenge shortcomings in prosecutorial authority.” Deaver, 822 F.2d at 71. This includes

Criminal Rule 12. See id. at 70.

        Second, allowing prospective criminal defendants to “bring[] ancillary equitable

proceedings” would allow them to “circumvent federal criminal procedure.” Id. at 71. Because

denial of a motion to dismiss under Criminal Rule 12 “is ordinarily not considered a ‘final decision’

appealable under 28 U.S.C. § 1291,” allowing civil challenges to proceed—with their “attendant

rights of appeal”—would “undermine the final judgment rule.” Id. at 70-71; see also United States

v. Hollywood Motor Car Co., 458 U.S. 263, 265 (1982) (per curiam) (noting that the policy of

finality is “at its strongest in the field of criminal law”). Indeed, the policy of finality is so strong

that even when a party files an independent civil action seeking the suppression of evidence—i.e.,

not going to the ultimate merits of a criminal case—the Supreme Court has held that the matter is

not immediately appealable when there is an ongoing criminal proceeding. See DiBella v. United

States, 369 U.S. 121 (1962); see also In re Sealed Case, 716 F.3d 603, 605-07 (D.C. Cir. 2013)

(extending DiBella to motion for return of property during a grand jury investigation).4 Regardless

of what phase of the criminal proceeding is being challenged, therefore, allowing collateral civil

challenges would upset the carefully crafted scheme set forth in the Federal Rules of Criminal

Procedure, to the detriment of “the effective and fair administration of the criminal law.” DiBella,

369 U.S. at 126.

        Third, “principles of comity and separation of powers counsel courts against intervening



        4
          These civil actions seeking the return of property are expressly authorized by Federal
Rule of Criminal Procedure 41(g). The principle announced in DiBella ensures that courts, in
deciding such motions, do not interfere with ongoing criminal matters. See 3021 6th Ave. N.,
Billings, MT v. United States, 237 F.3d 1039, 1041 (9th Cir. 2001) (the DiBella principle avoids
“uncertainty and delay to an ongoing parallel criminal proceeding,” but allows courts “to prevent
the deprivation of seized property . . . when those deprived have no other avenues for relief,” i.e.,
are unconnected to an ongoing criminal matter (emphasis added)).


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in a criminal investigation conducted by another branch of government.” North, 656 F. Supp.

at 421. Because “[t]he powers of criminal investigation are committed to the Executive branch,”

Reporters Comm. for Freedom of Press v. AT&T Co., 593 F.2d 1030, 1065 (D.C. Cir. 1978), and

“[i]n the ordinary case” the decision to prosecute “generally rests entirely in [the Executive’s]

discretion,” Armstrong, 517 U.S. at 464, allowing civil suits to proceed—with the effect of

interfering with ongoing criminal matters—would violate inter-branch comity by “interfer[ing]

with the prerogatives of coordinate branches of government.” In re Al-Nashiri, 835 F.3d at 127;

see also AT&T, 593 F.2d at 1065; Hartford Assocs., 792 F. Supp. at 365.

       Finally, collateral civil suits risk intruding on the Judiciary’s intra-branch comity. Cf. Wash.

Metro. Area Transit Auth. v. Ragonese, 617 F.2d 828, 830 (D.C. Cir. 1980) (“Considerations of

comity and orderly administration of justice dictate that two courts of equal authority should not

hear the same case simultaneously.”). Because nothing compels criminal defendants to file their

civil challenges before the same judge (or even in the same District) as their criminal case, allowing

civil lawsuits to challenge criminal matters could potentially place two federal district courts in

conflict with one another—e.g., if one concludes that the prosecution may proceed, but the other

disagrees. Criminal defendants should not get two bites at the apple in two different cases.

       B.      The Rule Against Interference in an Ongoing Criminal Matter Compels
               Dismissal of the Present Civil Action

       The principles discussed above squarely foreclose this civil lawsuit: Manafort has an

adequate forum in which to raise his arguments—the underlying criminal action. Maintaining this

lawsuit, therefore, is contrary to the holdings of Younger and Deaver.

               1.      Manafort’s Underlying Criminal Action Provides an Adequate Forum
                       for His Arguments

       Rule 12 of the Federal Rules of Criminal Procedure provides federal criminal defendants

“a federal forum in which to assert their defenses,” Deaver, 822 F.2d at 69-70, which therefore


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constitutes “an adequate remedy at law” sufficient to preclude requests for equitable relief from

civil courts. Younger, 401 U.S. at 43.

       Here, there is no question that Manafort has an adequate forum in which to present his

defenses. Count I of the Complaint alleges that the Special Counsel was invalidly appointed, and

Count II alleges that the Special Counsel’s indictment of Manafort exceeds the scope of his

authority. See Compl. ¶¶ 52, 63. Manafort may seek to advance either of those theories as “a

defect in instituting the prosecution” in a motion under Rule 12. See Fed. R. Crim. P. 12(b)(3)(A).

       The Government’s position, of course, is that Manafort’s theories lack merit and do not

constitute defects warranting dismissal of the indictment. Regardless of whether Manafort’s

arguments have any merit, however, the relevant point is that Rule 12 provides Manafort a

mechanism for raising his same arguments in the underlying criminal action. Indeed, a challenge

to the prosecutor’s authority was exactly the type of error that the Deaver court held should be

channeled through Rule 12. See 822 F.2d at 71 (“These rules provide adequate, although limited,

opportunities for defendants to challenge shortcomings in prosecutorial authority.” (emphasis

added)); see also North, 656 F. Supp. at 421-22 (rejecting the argument that civil court intervention

in a criminal matter is allowed when the challenge “strikes at the very authority of the investigative

body to investigate, rather than at specific actions undertaken by it”).

       Manafort’s Complaint does not even attempt to explain why the underlying criminal action

is an inadequate forum for raising his arguments. Nor could Manafort do so, given his expressed

intent to file motions to dismiss the indictment in that forum, and the Court’s order affording

Manafort the time to prepare such motions. See United States v. Manafort, No. 17-cr-201 (D.D.C.),

Minute Order of Jan. 16, 2018 (“Defense Motions pursuant to Federal Rule of Criminal Procedure

12(b)(3)(A) or (B) shall be filed by 2/23/2018.”). If Manafort wishes to challenge the Special




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Counsel’s authority to prosecute him, the appropriate place to do so is in the criminal proceeding.5

               2.      This Lawsuit Plainly Seeks to Interfere with Manafort’s Ongoing
                       Criminal Prosecution

       Perhaps in an effort to avoid the “basic doctrine of equity” discussed above, Younger, 401

U.S. at 43, Manafort’s counsel previously suggested that this civil lawsuit “does not ask for

dismissal of the indictment.” United States v. Manafort, 17-cr-201 (D.D.C.), Tr. of Jan. 16, 2018

Status Conf. at 37-38. That assertion is both implausible and irrelevant.

       The relief sought in the Complaint includes a request for “an order and judgment setting

aside the Appointment Order and declaring it invalid,” as well as “an order and judgment declaring

ultra vires and setting aside all actions taken against Mr. Manafort pursuant to the Appointment

Order[.]” Compl., Prayer for Relief ¶¶ (a)-(b) (emphasis added). To be sure, the Complaint does

not spell out what it would mean to “set aside” all actions that the Special Counsel has taken against

Manafort. But any plausible meaning would surely include “setting aside” the indictment. Indeed,

if the Complaint is not requesting that the indictment be set aside, it is difficult to understand how

the Complaint could even redress the injuries that Manafort has pled. See id. ¶ 65. At best, the

Complaint’s chosen phrasing—“set aside” rather than “dismiss”—is just an example of “artful

pleading,” which generally is not enough to avoid preclusion of a claim. Brown v. Gen. Servs.

Admin., 425 U.S. 820, 833 (1976); see also McKinney v. White, 291 F.3d 851, 855-56 (D.C. Cir.

2002); Anderson v. United States, 764 F.2d 849, 853 (Fed. Cir. 1985).

       In any event, it is ultimately irrelevant whether the Complaint requests dismissal of the



       5
         Manafort’s Complaint does allege that he has “suffered economic injury, reputational
harm, and invasion of his privacy” as a result of the prosecution. Compl. ¶ 49. These injuries,
however, are insufficient to justify the extraordinary remedy of equitable relief against an ongoing
prosecution. See, e.g., Deaver, 822 F.2d at 69 (“[T]he ‘cost, anxiety, and inconvenience of having
to defend against a single criminal prosecution’ are not recognized as irreparable injuries justifying
an equitable remedy.” (quoting Younger, 401 U.S. at 46)); see also Younger, 401 U.S. at 46-47.


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indictment; the fundamental principles discussed above are not limited to civil lawsuits requesting

such dismissal. Indeed, in Younger itself, the requested remedy was not dismissal but rather

“asking [the federal] court to enjoin . . . the District Attorney of Los Angeles County” from

prosecuting the plaintiff. 401 U.S. at 39. Demonstrating the point even more starkly, in In re

Sealed Case there was not yet even an indictment, but the D.C. Circuit nevertheless relied on the

same principles to reject the idea of “entertain[ing] the claim of a person subject to a criminal

investigation that the investigation is unlawful and must therefore be enjoined.” 829 F.2d at 62

n.60 (citing Deaver, 822 F.2d at 67-68; North, 656 F. Supp. at 420). Thus, the exact form of relief

sought by the civil complaint is not important; the critical question is whether the relief would

interfere with an ongoing investigation or prosecution.

       Here, the relief sought would obviously interfere with the Department of Justice’s

prosecution, which is being conducted by the Special Counsel. In effect, Manafort seeks a

judgment that the Special Counsel lacks authority to prosecute him, and seeks to unwind actions

taken against him as part of that prosecution. See Compl., Prayer for Relief ¶¶ (a)-(b). Moreover,

Manafort also seeks a declaration and injunction against further investigations by the Special

Counsel. Id., Prayer for Relief ¶¶ (c)-(d). On its face, then, the Complaint seeks relief that would

substantially interfere with ongoing criminal proceedings—at least to the same degree (if not more)

as existed in Deaver, In re Sealed Case, and North. Manafort’s civil claims are thus squarely

precluded as an improper attempt to collaterally attack an ongoing criminal proceeding.

II.    Count I Should Be Dismissed Because it Fails to Satisfy Threshold Requirements for
       APA Review

       Count I fails for reasons in addition to the fundamental defect discussed above. Count I is

brought under the APA and seeks to challenge the Appointment Order. See Compl. ¶ 51. An APA

claim is unavailable, however, when an alternate, adequate remedy exists, and here such a remedy



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is clearly available in Manafort’s underlying criminal case. Moreover, Manafort cannot use the

APA to challenge DOJ’s internal assignment of responsibility for a particular matter; thus, Count I

also fails under a variety of different threshold APA doctrines.

       A.      An APA Claim is Unavailable Because Manafort Has an Alternate, Adequate
               Remedy in His Underlying Criminal Action

       The APA provides for judicial review only when “there is no other adequate remedy in a

court[.]” 5 U.S.C. § 704; see generally Citizens for Responsibility & Ethics in Wash. (CREW) v.

Dep’t of Justice, 846 F.3d 1235, 1244 (D.C. Cir. 2017) (“Section 704 reflects Congress’ judgment

that the general grant of review in the APA ought not duplicate existing procedures for review of

agency action or provide additional judicial remedies in situations where Congress has provided

special and adequate review procedures.”). Here, Manafort has an alternate, adequate remedy for

any alleged defects in his prosecution or indictment: the ability to file a motion to dismiss in his

criminal case. See Part I.B.1, supra. The instant civil action is therefore precisely the kind of

duplicative review prohibited by § 704 of the APA, which provides an independent basis to dismiss

Count I.

       Even if Manafort argues that the relief sought under his APA claim is different from the

relief available in his criminal action, that would not bring Count I outside the § 704 bar. For an

alternative remedy to be considered adequate, it “need not provide relief identical to relief under

the APA, so long as it offers relief of the ‘same genre.’” Garcia v. Vilsack, 563 F.3d 519, 522 (D.C.

Cir. 2009); see also Women’s Equity Action League v. Cavazos, 906 F.2d 742, 751 (D.C. Cir. 1990)

(even if an alternate remedy is “less effective in providing” the desired relief, it is sufficiently

adequate to bar an APA claim).

       Here, Criminal Rule 12 clearly provides Manafort the opportunity to seek relief “of the

same genre” as what he seeks pursuant to his APA claim. Compare Fed. R. Crim. P. 12(b)(3)(A)



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(allowing motion to dismiss the indictment for “a defect in instituting the prosecution”), with

Compl. ¶¶ 52-53 (arguing that the Appointment Order “must be set aside” and that “all actions

taken pursuant to the authority it purports to grant the Special Counsel . . . must be set aside”).

And to the extent that Manafort challenges the warrant-authorized search of his home, see Compl.

¶¶ 42, 49, he can file a motion to suppress evidence in the criminal case. See Fed. R. Crim. P.

12(b)(3)(C). Even if the relief available in a motion brought under Criminal Rule 12 is not

identical to all of the relief sought here, it is nevertheless sufficiently adequate to preclude APA

review. See Garcia, 563 F.3d at 525 (even where a broader lawsuit “would be more effective”

than “situation-specific” litigation, the latter still “affords an adequate, even if imperfect,

remedy”).   Thus, even assuming “some mismatch between the relief sought and the relief

available,” CREW, 846 F.3d at 1246, the Federal Rules of Criminal Procedure provide the “same

genre” of relief, which bars Manafort from bringing a duplicative claim under the APA.6

       B.      Manafort Cannot Use the APA to Challenge Internal DOJ Procedures for
               Prosecutorial Assignments

       Agencies make countless decisions relating to their internal management and operations,

including decisions about whom to hire and decisions assigning specific responsibilities or cases

to specific individuals. These kinds of internal agency decisions are not subject to judicial

challenge by private parties, a result that finds expression in a variety of doctrines, including:

private parties have no enforceable rights in agencies’ procedural or organizational rules; private


       6
          Indeed, the nature of the Federal Rules of Criminal Procedure as “a comprehensive set of
rules governing federal criminal prosecutions,” Deaver, 822 F.2d at 71, suggests that judicial
review of Manafort’s claim may be entirely precluded under 5 U.S.C. § 701(a)(1). Cf. NLRB v.
United Food & Commercial Workers Union, 484 U.S. 112, 131 (1987) (holding that APA review
is precluded because the National Labor Relations Act is “a comprehensive statute concerning the
disposition and review of the merits of unfair labor practice charges”). The Court need not resolve
the issue here, however, because the Federal Rules, at a minimum, bar review under § 704 because
they constitute an alternate, adequate remedy.



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parties are outside the relevant zone of interests of the underlying statutes; and internal agency

decisions are not final agency action. Collectively, these doctrines underscore that internal agency

processes for allocating personnel are not subject to challenge.

       Yet here, Count I of Manafort’s Complaint seeks to do exactly that. Count I challenges the

Acting Attorney General’s appointment of the Special Counsel, which was, in effect, a decision by

the Acting Attorney General to hire Mr. Mueller as a DOJ employee and assign him responsibility

for the day-to-day operations of a particular investigation. See Appointment Order; see also 28

C.F.R. § 600.3. The DOJ regulations on which Manafort’s claim is based, however, are purely

procedural, addressing a matter of internal agency management, and they thus provide Manafort

no rights to enforce. In like fashion, the statutes on which the regulations are based also evince no

intent to benefit private parties. And the Appointment Order is an internal DOJ directive, assigning

responsibility for a particular matter to a particular Department employee, and thus is not itself a

“final agency action” subject to challenge under the APA. Each of these reasons demonstrates that

the APA does not permit a private party like Manafort to challenge the Department’s decision about

how to assign responsibility for a particular matter.

               1.      The Special Counsel Regulations Provide No Enforceable Rights

       As discussed above, Count I seeks to challenge the Appointment Order’s compliance with

the Special Counsel regulations. See Compl. ¶ 52. Private parties, however, are unable to enforce

internal agency rules that are intended solely to benefit the agency. See Lopez v. FAA, 318 F.3d

242, 247 (D.C. Cir. 2003), as amended (Feb. 11, 2003); United Space All., LLC v. Solis, 824 F.

Supp. 2d 68, 83 (D.D.C. 2011); see also Schweiker v. Hansen, 450 U.S. 785, 789-90 & n.5 (1981)

(per curiam); United States v. Caceres, 440 U.S. 741, 753-54 & n.18 (1979).

       Here, even assuming that the Special Counsel regulations are the sole source of authority

for the Acting Attorney General’s appointment of the Special Counsel, the regulations are non-


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enforceable because they are purely internal: They relate only to “matters of agency management

or personnel,” and represent at most “a rule of agency organization, procedure, or practice.” Office

of Special Counsel, 64 Fed. Reg. at 37,041. Indeed, the regulations expressly state that they “are

not intended to, do not, and may not be relied upon to create any rights, substantive or procedural,

enforceable at law or equity, by any person or entity, in any matter, civil, criminal, or

administrative.” 28 C.F.R. § 600.10. Thus, the regulations are not enforceable by a private party

like Manafort.

       In similar circumstances, the D.C. Circuit and other courts in this District have held that

internal DOJ guidelines—e.g., the United States Attorneys’ Manual—do not confer any rights on

private parties and are therefore not enforceable. See, e.g., United States v. Blackley, 167 F.3d 543,

548-49 (D.C. Cir. 1999) (holding that “violations of Manual policies by DOJ attorneys or other

federal prosecutors afford a defendant no enforceable rights,” including because “[t]he Manual

itself says that it ‘is not intended to confer any rights, privileges or benefits’”); Rodriguez v.

Shulman, 843 F. Supp. 2d 96, 100-01 (D.D.C. 2012) (holding that the Manual “provides no basis

upon which Plaintiffs could bring a motion to disqualify” a federal prosecutor who failed to follow

DOJ’s recusal policy); cf. Kugel v. United States, 947 F.2d 1504, 1507 (D.C. Cir. 1991) (holding

that DOJ criminal investigation guidelines did not create a duty sufficient for a private individual’s

tort claim because they “have no legal force”). Other courts of appeals have consistently reached

the same conclusion with respect to DOJ policies.7



       7
          See, e.g., United States v. Wilson, 413 F.3d 382, 389 (3d Cir. 2005) (collecting cases
holding that “Department of Justice guidelines and policies do not create enforceable rights for
criminal defendants,” and denying relief for potential violation of DOJ Petite policy); United
States v. Fernandez, 231 F.3d 1240, 1246 (9th Cir. 2000) (United States Attorneys’ Manual);
United States v. Lee, 274 F.3d 485, 492-93 (8th Cir. 2001) (DOJ death penalty protocol); Nichols




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       Just as alleged violations of those policies do not provide a basis for private parties to seek

relief, the same is true of the Special Counsel regulations, which provide a framework for DOJ’s

internal decisions over assigning responsibility for certain matters among Department employees.

The regulations, moreover, contain an express statement that they create no rights—a “disclaimer”

that “[f]ederal courts have held . . . to be effective.” Lee, 274 F.3d at 493; see, e.g., Air Transp.

Ass’n of Am. v. FAA, 169 F.3d 1, 8-9 (D.C. Cir. 1999) (relying on similar language); Blackley, 167

F.3d at 548-49 (same); Defs. of Wildlife v. Jackson, 791 F. Supp. 2d 96, 120-21 (D.D.C. 2011)

(same). Such “disclaimers” have been particularly effective with respect to DOJ prosecutorial

policies, given that enforcement of the Nation’s criminal laws is “a ‘special province’ of the

Executive.” Armstrong, 517 U.S. at 464 (quoting Heckler v. Chaney, 470 U.S. 821, 832 (1985)).

This overwhelming authority recognizing that internal DOJ policies confer no rights on private

parties thus compels dismissal.

               2.      Manafort Cannot Bring an APA Claim Because He Is Outside the Zone
                       of Interests of the Relevant Statutes

       Under the APA a plaintiff must also show that he has been “adversely affected or aggrieved

by agency action within the meaning of a relevant statute[.]” 5 U.S.C § 702. Thus, a plaintiff’s

claim “must be arguably within the zone of interests to be protected or regulated by the statute that

he says was violated.” Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567

U.S. 209, 224 (2012); see also Lexmark Int’l Inc. v. Static Control Components, Inc., 134 S. Ct.




v. Reno, 124 F.3d 1376, 1378 (10th Cir. 1997) (same); United States v. Piervinanzi, 23 F.3d 670,
682 (2d Cir. 1994) (DOJ policy memorandum requiring consultation prior to bringing certain
charges); United States v. Craveiro, 907 F.2d 260, 264 (1st Cir. 1990) (DOJ policy requiring pre-
trial notice of intent to seek sentence enhancement); see also Schweiker, 450 U.S. at 789-90 & n.5
(Social Security Administration Claims Manual).




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1377, 1388-89 (2014).8

       Here, Manafort alleges that he “is within the zone of interests protected by the special

counsel regulations and the relevant statutory provisions governing DOJ.” Compl. ¶ 59. Manafort

cannot rely on the Special Counsel regulations, however, to satisfy the zone of interests test. See

Am. Fed’n of Gov’t Emps., AFL-CIO v. Rumsfeld, 321 F.3d 139, 143-45 (D.C. Cir. 2003)

(explaining that “instructions, directives, and regulations” are insufficient for the zone-of-interests

inquiry, because they “are not statutes”); see also Town of Stratford v. FAA, 285 F.3d 84, 89 (D.C.

Cir. 2002); Nat’l Fed’n of Fed. Emps. v. Cheney, 883 F.2d 1038, 1043 (D.C. Cir. 1989). And

certainly Manafort is not within the zone of interests of a regulation that expressly creates no

private rights. See 28 C.F.R. § 600.10.

       As for “the relevant statutory provisions governing DOJ,” Compl. ¶ 59, Manafort makes

no effort to explain how his interests fall within any particular statute’s zone of interest (or even to

identify the particular statutes at issue). This is hardly surprising; the Special Counsel regulations

were issued pursuant to 5 U.S.C. § 301 and 28 U.S.C. §§ 509-510, see 64 Fed. Reg. at 37,042, and

those statutes are clearly not intended to confer rights to any private parties. With respect to § 509,

it generally vests in the Attorney General “[a]ll functions . . . of the Department of Justice,” and

§ 510 then permits the Attorney General to delegate his authority as he deems appropriate. These

statutes are merely grants of authority to the Attorney General, allowing him to conduct the

functions of the Department efficiently. They are not limitations on his authority, and certainly not

limitations evincing an intent to benefit private citizens or criminal defendants. See United States




       8
         The Supreme Court’s decision in Lexmark clarified that the zone-of-interests test is a
prerequisite to finding a valid cause of action rather than an aspect of what was previously called
prudential standing. 134 S. Ct. at 1387-89 & n.4. But that clarification worked no substantive
change in the zone-of-interests required. See id. at 1388-89.


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v. Libby, 429 F. Supp. 2d 27, 33 (D.D.C. 2006) (“[T]he Court concludes that the plain language of

Section 510 permits the Attorney General to delegate, as he determines appropriate, any of his

functions.”); see also United States v. U.S. Dist. Ct. for N. Mariana Islands, 694 F.3d 1051, 1059

(9th Cir. 2012), as amended (Oct. 16, 2012) (“The delegation to the Attorney General of authority

to conduct litigation concerns the allocation of responsibility, within the government, for

representing the United States as a party.” (citing 28 U.S.C §§ 510, 516-17, 519)).

       The same is true of § 515, which was relied upon by the Acting Attorney General in the

Appointment Order; that statute simply authorizes the appointment of special attorneys to assist

the Attorney General in carrying out his functions. See United States v. Wrigley, 520 F.2d 362,

368 (8th Cir. 1975) (“The statute [§ 515] is not a limitation but a grant of authority that makes the

powers of the Attorney General coextensive with his duties.”). Finally, Manafort does not appear

to allege that he comes within the zone of interests of 5 U.S.C. § 301. Nor could he, given that

this “housekeeping statute” is “simply a grant of authority to the agency to regulate its own affairs.”

Chrysler Corp. v. Brown, 441 U.S. 281, 309 (1979). Because Manafort’s claim does not come

within the zone of interests of any of the relevant statutes, he fails to state a claim under the APA.

               3.      Manafort Is Not Challenging Any Final Agency Action

       Count I also fails because it does not challenge any “final agency action.” 5 U.S.C. § 704.

A final agency action must “mark the consummation of the agency’s decisionmaking process,”

and “must be one by which rights or obligations have been determined, or from which legal

consequences will flow.” Bennett v. Spear, 520 U.S. 154, 178 (1997). The Appointment Order

does not meet these requirements; it was no more “final agency action” than any of the other

numerous decisions DOJ routinely makes about whom should be hired, or which employee should

be assigned to handle a particular matter. Cf. United States v. Fitzhugh, 78 F.3d 1326, 1330 (8th

Cir. 1996) (“Of course, deciding what agent should represent the United States in a criminal


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prosecution is primarily a question for the Executive Branch.”).

       Manafort alleges that the Appointment Order is a final agency action “because it is a final

order through which Mr. Rosenstein consummated his selection and appointment of Mr. Mueller

as Special Counsel and in which he fully set out the Special Counsel’s jurisdiction.” Compl. ¶ 56.

But the Appointment Order was, by its own terms, an interim step in an ongoing investigation, and

it therefore did not represent the consummation of the agency’s decisionmaking with respect to the

investigation. And the Acting Attorney General’s decision to appoint a Special Counsel is only “a

threshold determination that further inquiry is warranted”—not a “definitive” resolution of the

type associated with final agency action. FTC v. Standard Oil Co. of Cal., 449 U.S. 232, 241

(1980); see also Bannum, Inc. v. Sawyer, 251 F. Supp. 2d 7, 11 (D.D.C. 2003) (“Thus, an agency’s

initiation of an investigation in and of itself does not constitute final agency action.”

(modifications omitted)).

       The Appointment Order also did not itself determine any legal consequences outside of the

Department of Justice—it merely organized the manner in which an ongoing investigation would

proceed and determined which Department employee would be responsible for conducting the

day-to-day operations of that investigation. Although Manafort alleges that the Order “fully set[s]

out the Special Counsel’s jurisdiction,” Compl. ¶ 56, there is nothing special about “jurisdictional”

issues that allows them to be challenged before the agency has taken action that determines rights

and obligations for others. See Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety

Comm’n, 324 F.3d 726, 731-32 (D.C. Cir. 2003) (rejecting judicial review of the “Commission’s

regulatory jurisdiction” where it had no “direct and immediate” effect on the plaintiffs, who “[i]f

the Government brings an enforcement proceeding [could] defend themselves on the ground that

the agency lacks jurisdiction”); see also Standard Oil, 449 U.S. at 242 (obligations imposed by the




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initiation of enforcement proceedings not sufficient to establish “final agency action,” despite

being “substantial,” because “it is different in kind and legal effect from the burdens . . . considered

to be final agency action”); Nat’l Ass’n of Home Builders v. Norton, 415 F.3d 8, 15 (D.C. Cir.

2005) (“[I]f the practical effect of the agency action is not a certain change in the legal obligations

of a party, the action is non-final for the purpose of judicial review.”); Aluminum Co. of Am. v.

United States, 790 F.2d 938, 942 (D.C. Cir. 1986); Bannum, 251 F. Supp. 2d at 12. Thus, Manafort

cannot escape the principle that investigations and the initiation of enforcement proceedings do

not constitute final agency actions simply by characterizing his claim as challenging the Special

Counsel’s jurisdiction.

       For the above reasons, Count I would fail even under traditional doctrines of APA review.

Even if Count I could overcome the Younger/Deaver abstention argument, therefore, it should

nonetheless be dismissed for failure to state a claim under the APA.

III.   Count II Should Be Dismissed Because the Declaratory Judgment Act Does Not Itself
       Provide a Basis for Judicial Review, and Ultra Vires Review is Unavailable

       In contrast to Count I, Count II does not invoke the APA, but instead seeks review under

the Declaratory Judgment Act and pursuant to non-statutory review of allegedly ultra vires acts.

See Compl. ¶ 61. Neither theory provides Manafort with a cause of action, however, and therefore

Count II is also subject to dismissal.

       A.      The Declaratory Judgment Act Does Not Provide for Judicial Review

       The Declaratory Judgment Act, 28 U.S.C. § 2201, does not by itself provide a basis for

judicial review, but instead merely expands the remedies available in an otherwise proper civil

action. As the Supreme Court has said, the Declaratory Judgment Act “presupposes the existence

of a judicially remediable right,” Schilling v. Rogers, 363 U.S. 666, 677 (1960). See Ali v.

Rumsfeld, 649 F.3d 762, 778 (D.C. Cir. 2011) (“It is a well-established rule that the Declaratory



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Judgment Act is not an independent source of federal jurisdiction. Rather, the availability of

declaratory relief presupposes the existence of a judicially remediable right.”); accord Metz v. BAE

Sys. Tech. Solutions & Servs. Inc., 774 F.3d 18, 25 n.8 (D.C. Cir. 2014); Doe v. U.S. Parole

Comm’n, 602 F. App’x 530, 532 n.3 (D.C. Cir. 2015); Comm. on Oversight & Gov’t Reform v.

Holder, 979 F. Supp. 2d 1, 23 (D.D.C. 2013) (the Declaratory Judgment Act does not “create

substantive rights that would not exist otherwise, and . . . does not confer federal jurisdiction by

itself”). Courts in this District have consistently reaffirmed this feature of the Declaratory

Judgment Act.9 Thus, it does not provide a basis for judicial review of Count II.

       B.      An Ultra Vires Cause of Action is Also Unavailable

       Manafort also attempts to obtain review by invoking the doctrine of non-statutory review

over ultra vires acts, which has previously been described as “a doctrine of last resort,” Schroer v.

Billington, 525 F. Supp. 2d 58, 65 (D.D.C. 2007), and “a Hail Mary pass[.]” Nyunt v. Chairman,

Broad. Bd. of Governors, 589 F.3d 445, 449 (D.C. Cir. 2009). “There certainly is no question that

nonstatutory review is intended to be of extremely limited scope[.]” Trudeau v. FTC, 456 F.3d 178,

190 (D.C. Cir. 2006). Given the significant limitations on when ultra vires review is available,

Manafort cannot obtain such review here: he has an adequate forum available to pursue his

challenge; he does not allege agency action in excess of statutory authority; nor does he allege an

extreme, obvious error of the type necessary to permit ultra vires review.

       1. Both the Supreme Court and D.C. Circuit have made clear that an ultra vires claim is



       9
          See, e.g., Glenn v. Thomas Fortune Fay, 222 F. Supp. 3d 31, 35 (D.D.C. 2016); Mohamed
v. Select Portfolio Servicing, Inc., 215 F. Supp. 3d 85, 97 (D.D.C. 2016); Detroit Int’l Bridge Co.
v. Gov’t of Canada, 133 F. Supp. 3d 70, 88 (D.D.C. 2015), amended on denial of reconsideration,
189 F. Supp. 3d 85 (D.D.C. 2016); Seized Prop. Recovery, Corp. v. U.S. Customs & Border Prot.,
502 F. Supp. 2d 50, 64 (D.D.C. 2007); United States v. Instruments, S.A., 807 F. Supp. 811, 814
(D.D.C. 1992); Superlease Rent-A-Car, Inc. v. Budget Rent-A-Car of Md., 1989 WL 39393, at *3
(D.D.C. Apr. 13, 1989).


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unavailable where an alternative forum exists in which a plaintiff may pursue the challenge. See

Bd. of Governors of Fed. Reserve Sys. v. MCorp Fin., Inc., 502 U.S. 32, 43 (1991) (non-statutory

review is available only when a party would be “wholly deprive[d] . . . of a meaningful and

adequate means of vindicating its statutory rights”); Lepre v. Dep’t of Labor, 275 F.3d 59, 72 (D.C.

Cir. 2001) (a “critical” requirement for ultra vires review is “the lack of any alternative means of

judicial review for the plaintiffs”); see also Nyunt, 589 F.3d at 449. As previously explained, see

Part I, supra, Manafort’s criminal action provides an adequate forum in which he can pursue the

same arguments he raises in Count II—viz., that his prosecution exceeds the scope of the Special

Counsel’s authority. See Compl. ¶¶ 63-64. Accordingly, Count II fails because any challenge to

the Special Counsel’s allegedly ultra vires actions can be raised in the alternative forum of his

criminal case.

       2. Manafort’s Count II “challenges the conduct of Mr. Mueller as beyond his jurisdiction

under the Appointment Order.” Compl. ¶ 61. This theory is not a cognizable ultra vires claim for

two additional reasons: Manafort is not challenging agency action in excess of statutory authority

(instead alleging only a violation of an intra-Executive Branch delegation of authority); and, in

any event, the Appointment Order does not provide Manafort any rights to enforce.

       A viable non-statutory, ultra vires claim must meet two tests: First, the plaintiff must allege

agency action in excess of a statutory or constitutional command (and, as discussed below, one

that is clear and mandatory); and second, the plaintiff must have alleged a violation of individual

rights. See Griffith v. FLRA, 842 F.2d 487, 493 (D.C. Cir. 1988); Leedom v. Kyne, 358 U.S. 184,

190 (1958) (allowing non-statutory review because “[t]his Court cannot lightly infer that Congress

does not intend judicial protection of rights it confers against agency action taken in excess of

delegated powers”); Larson v. Domestic & Foreign Commerce Corp., 337 U.S. 682, 689-90, 693




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(1949); see also Dugan v. Rank, 372 U.S. 609, 620-22 (1963); Physicians Nat’l House Staff Ass’n

v. Fanning, 642 F.2d 492, 496 (D.C. Cir. 1980) (en banc) (“That the Board may have made an error

of fact or law is insufficient; the Board must have acted without statutory authority.”).

       Here, Manafort’s Count II is not alleging a violation of statutory authority, but rather a

violation of the scope of authority delegated by an internal DOJ directive—i.e., the Appointment

Order. See Compl. ¶ 61. Manafort therefore cannot state a valid ultra vires claim. See Pa. Mun.

Authorities Ass’n v. Johnson, No. 04-5073, 2005 WL 2491482, at *1 (D.C. Cir. June 3, 2005)

(holding that ultra vires review is unavailable where a party “argue[s] only that the [agency

officials] are acting in excess of authority delegated to them” but “do[es] not identify any statutory

provision that the agency violated”); see also Exxon Chemicals Am. v. Chao, 298 F.3d 464, 468

(5th Cir. 2002) (ultra vires review is unavailable when “the agency has not exceeded the scope of

its congressionally delegated authority,” and instead the plaintiff “only alleges that a party within

the agency exceeded its own authority within the administrative adjudicative process”).

       Moreover, even if an ultra vires claim could arise from an agency’s violation of its own

internal delegations, the claim still must be founded on the violation of an individual right. See

Kyne, 358 U.S. at 190; Larson, 337 U.S. at 693. But here, the Appointment Order provides

Manafort no rights to enforce at all. Cf. Part II.B, supra. The Appointment Order governs the

relationship between the Acting Attorney General and the Special Counsel. Nothing in the

Appointment Order indicates an intent to benefit private parties; to the contrary, it incorporates the

same regulation expressly stating that no rights are created. See Appointment Order § (d) (stating

that 28 C.F.R. § 600.10 is applicable to the Special Counsel). Thus, Manafort’s attempt to bring

an ultra vires claim fails at the outset: Count II seeks only to enforce an internal Executive Branch

delegation of authority, and that internal delegation provides Manafort no rights to enforce.




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       3. Manafort’s Count II also fails because it does not allege the kind of clear, obvious, and

extreme error that can be adjudicated through ultra vires review. This form of review is “of

extremely limited scope.” Griffith, 842 F.2d at 493; see also Nat’l Air Traffic Controllers Ass'n

AFL-CIO v. Fed. Serv. Impasses Panel, 437 F.3d 1256, 1263 (D.C. Cir. 2006). Even where a

plaintiff alleges that an agency has transgressed its statutory authority (which Manafort has not

alleged here), the plaintiff must rely on “a specific prohibition” that is “clear and mandatory.”

Leedom, 358 U.S. at 188; see Nat’l Air Traffic Controllers Ass’n, 437 F.3d at 1262. And the

plaintiff “must show a patent violation of agency authority,” i.e., one that is “obvious” or

“apparent.” Fla. Health Scis. Ctr., Inc. v. Sec’y of Health & Human Servs., 830 F.3d 515, 522

(D.C. Cir. 2016); see also, e.g., Ass’n of Civilian Technicians, Inc. v. FLRA, 283 F.3d 339, 344

(D.C. Cir. 2002) (there must be a “clear violation of an unambiguous statutory provision”); Dart

v. United States, 848 F.2d 217, 222 (D.C. Cir. 1988) (question is “whether the agency action ‘on

its face’ violated a statute”); Physicians Nat’l House Staff Ass’n, 642 F.2d at 496 (action must

“violate[] some specific command” or “clear statutory mandate”).

       The bounds of ultra vires review must be applied with particular care to claims (like

Manafort’s) alleging that the charges filed by a criminal prosecutor exceed the prosecutor’s

authority. Criminal prosecutions are “a core executive constitutional function,” Armstrong, 517

U.S. at 465, and it is not always clear how a specific charge relates to a specific investigation,

particularly when the full scope of that investigation may not be publicly known. Cf. Wayte v.

United States, 470 U.S. 598, 607 (1985) (noting that a “case’s relationship to the Government’s

overall enforcement plan” is “not readily susceptible to the kind of analysis the courts are

competent to undertake”). At a minimum, then, an ultra vires claim based on a prosecutor’s

charging decision should be permitted only upon the clearest showing that the prosecutor has acted




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contrary to an express, unequivocal limitation on the prosecutor’s authority. See Armstrong, 517

U.S. at 464 (“[T]he presumption of regularity supports . . . prosecutorial decisions and, in the

absence of clear evidence to the contrary, courts presume that [prosecutors] have properly

discharged their official duties.”).

        Manafort’s Count II does not meet the high bar for ultra vires claims. Manafort’s claim is

founded on the Acting Attorney General’s Appointment Order, see Compl. ¶ 61, but that order does

not contain the sort of “specific,” “clear,” and “mandatory” prohibition that can give rise to ultra

vires review, nor does Manafort allege “obvious” or “apparent” excess. Manafort’s theory is that

the Special Counsel is prohibited from investigating conduct that DOJ was assertedly aware of

because such conduct could not be a “matter[] that arose or may arise directly from the

investigation” assigned to the Special Counsel. Appointment Order ¶ (b)(ii); see Compl. ¶¶ 61-

63. But the Acting Attorney General directed the Special Counsel to take over “the investigation

confirmed by then-FBI Director James B. Comey” on March 20, 2017, see Appointment Order

¶ (b), and the Appointment Order did not specify the details of that non-public investigation or

what matters arose from it.

        Moreover, the provision Manafort relies on (“matters that arose or may arise directly from

the investigation”) does not establish the kind of specific and unequivocal prohibition necessary

for an ultra vires claim. Manafort is, in effect, reading an implicit limit into the Appointment

Order—that the Special Counsel may only investigate crimes uncovered for the very first time

during his investigation. The very notion of an implicit limitation shows why Manafort’s claim

fails. And whatever DOJ was previously aware of, prior knowledge of Manafort’s crimes would

not “obviously” establish that the investigation and prosecution of Manafort did not “arise directly

from the investigation” assigned to the Special Counsel. Fla. Health Scis. Ctr., 830 F.3d at 522;




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Appointment Order ¶ (b)(ii). Indeed, by asking the Court to wade into those questions, Manafort

is not only well outside of the narrow confines of the ultra vires doctrine, but he is also improperly

asking the Court to second-guess prosecutorial judgments.

       Finally, the Acting Attorney General has now confirmed, under oath, that Manafort’s

prosecution is properly within the Special Counsel’s authority. See Rosenstein Testimony at 28-29

(“I can assure you that the special counsel is conducting himself consistently with our

understanding about the scope of his investigation” and to “the extent there was any ambiguity,”

the Special Counsel has been authorized to include “those matters within his investigation.”); see

also id. at 146. This only underscores that the Special Counsel’s investigation of Manafort does

not remotely meet the standard for an ultra vires claim to proceed—particularly when that claim

seeks to set aside prosecutorial decisions at the heart of Executive discretion. Cf. In re Sealed

Case, 131 F.3d 208, 214 (D.C. Cir. 1997) (“The decision to invoke the power of the federal

government and the criminal jurisdiction of federal courts rests peculiarly within the province of

the Executive”). Count II is therefore not a cognizable claim.

                                          CONCLUSION

       For the foregoing reasons, the Court should dismiss the Complaint for failure to state a

claim upon which relief can be granted.


Dated: February 2, 2018                                Respectfully submitted,

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